57 F.3d 1066NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Katherine L. MILLER, Plaintiff-Appellant,v.COMMONWEALTH of Virginia, Department of Air Pollution,Defendant-Appellee.
    No. 94-2127.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 13, 1995.
    
      Katherine L. Miller, Appellant Pro Se.  Pamela Finley Boston, Assistant Attorney General, Richmond, VA, for Appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order granting summary judgment to Defendant in Appellant's Title VII action, 42 U.S.C.A. Sec. 2000e (West 1981 &amp; Supp.1994).  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Miller v. Commonwealth of Virginia, Dep't of Air Pollution, No. CA-93-354 (E.D. Va.  Aug. 1, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    